Case 6:15-cv-01855-TAD-CBW Document 332-1 Filed 08/30/19 Page 1 of 21 PageID #:
                                  12213


                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF LOUISIANA
                           LAFAYETTE DIVISION

 TOTAL REBUILD, INC.                    )
                                        )
      Plaintiff/Counterclaim-Defendant, )       Civil Action No. 6:15-cv-01855
                                        )
 v.                                     )       JUDGE TERRY A. DOUGHTY
                                        )
 PHC FLUID POWER, L.L.C.,               )       MAGISTRATE JUDGE WHITEHURST
                                        )
      Defendant/Counterclaim-Plaintiff. )       JURY TRIAL DEMANDED
                                        )


                DEFENDANT PHC FLUID POWER, L.L.C.’S
           MEMORANDUM IN SUPPORT OF ITS MOTION FOR RULE 11
                   SANCTIONS AND OTHER RELIEF




                                            1
Case 6:15-cv-01855-TAD-CBW Document 332-1 Filed 08/30/19 Page 2 of 21 PageID #:
                                  12214


                                                        TABLE OF CONTENTS


 I.      INTRODUCTION ................................................................................................................... 3
 II. APPLICABLE FACTS............................................................................................................ 5
      A. The Claims Require the Pumps (or at least One Pump) to be Within (Inside) the Housing.
         5
      B. The Five Systems and Sixth System Do Not Have Testing Equipment Within (Inside the
      Housing). ..................................................................................................................................... 6
         1.      PHC-TB-15-W-ATV4-GSF100-ASF150-DL-1 (Baker Hughes – Oklahoma City). ...... 6
         2.      PHC-TB-23-W-ATV4-HSF202-4RC (GE Oil). .............................................................. 7
         3. PHC-TB-15-W-ATV4-GSF100-ASF150-AGT62-152-RC (Baker Hughes Emmott
         Road). ...................................................................................................................................... 7
         4.      PHC-TB-15-W-ASFB22-HSF202-RC (Cameron – Brown System from Brochure). ..... 8
         5.      PHC-TB-20-W-ATV4-HSF202-RC (GE Canton). .......................................................... 8
         6.      PHC-TB-10-W-ATV-GSF100-DL-1 (Baker Hughes Oklahoma). .................................. 9
 III.         ARGUMENT ....................................................................................................................... 9
      A. Rule 11 Provides Sanctions for Bad Faith Litigation. ......................................................... 9
      B. No Reasonable Litigant Could Expect to Succeed on Total’s Claims for Infringement by
      the Five Systems and Sixth System........................................................................................... 12
         1.      PHC Has Not Directly Infringed the ʼ428 Patent. .......................................................... 12
         2.      PHC Has Not Indirectly Infringed the ʼ428 Patent. ....................................................... 16
      C. Total and Its Counsel’s Refusal to Drop the Five Systems Is Egregious. ......................... 17
         1. Since Receiving the January 3, 2019 Demand Letter and Draft Motion, Total and Its
         Counsel Asserted Infringement of a Sixth System where All Pumps Are Outside the
         Explosion-Proof Safety Housing. .......................................................................................... 17
         2. Attorney Ryan Goudelocke Should be Sanctioned as well as the Original Attorneys on
         the Case for Total. ................................................................................................................. 18
      D. This is an Exceptional Case for Attorney Fees, Expenses and Costs. ............................... 18
 IV.          CONCLUSION .................................................................................................................. 19




                                                                            2
Case 6:15-cv-01855-TAD-CBW Document 332-1 Filed 08/30/19 Page 3 of 21 PageID #:
                                  12215


 In support of its Motion for Rule 11 Sanctions and Other Relief, Defendant/Counterclaim-Plaintiff

 PHC Fluid Power, L.L.C (“PHC”), states:

                                         I.   INTRODUCTION

        PHC acknowledges allegations of Rule 11 violations and vexatious litigation under 28

 U.S.C. § 1927 are serious and not to be taken lightly. PHC also acknowledges the Court’s

 October 17, 2018 Order (Dkt. 161) wherein the Court warned the parties against unfounded

 allegations of litigation misconduct.

        Unfortunately, after years of warning Plaintiff Total Rebuild, Inc. (“Total”) and its counsel

 that Total’s claims of infringement are unfounded, Total and its counsel have asserted and

 continued to assert claims of infringement for systems that cannot under any interpretation and as

 a matter of law infringe United States Patent Number 8,146,428 (“’428 Patent”). PHC is left with

 no choice but to bring this motion to stop an unparalleled and needless waste of the Court’s time

 and resources, the jurors time, and PHC’s time and money.

        From the first interaction following Total’s filing the Complaint on June 11, 2015, PHC

 warned and has continued to warn Total and its counsel through this litigation that there is no good

 faith legal or factual basis for claiming patent infringement against PHC. On December 10, 2018,

 nearly three years later, Total and its counsel identified seven (7) systems that allegedly infringe.

 Although PHC disputes there is any basis for infringement against any system, there is not and can

 be no reasonable good faith basis for asserting that five (5) of the asserted systems (the “Five

 Systems”) infringe the ‘428 Patent. 1 Total’s Proposed Pretrial Order now identifies as infringing

 the Five Systems and a sixth system identified in July 2019. All claims of the ‘428 Patent require



 1
   Out of an abundance of caution and respect for Court’s time, PHC has not filed but reserves the
 right to submit a Motion for Rule 11 sanctions for any other systems.

                                                  3
Case 6:15-cv-01855-TAD-CBW Document 332-1 Filed 08/30/19 Page 4 of 21 PageID #:
                                  12216


 that high-pressure pneumatics testing equipment be located “within” the explosion-proof housing

 where high-pressure testing takes place. It cannot be disputed that the Five Systems have the testing

 equipment located outside of the housing. The Five Systems cannot infringe directly or indirectly

 as a matter of law. Total and its counsel’s conduct, therefore, violates Rule 11 of the Federal Rules

 of Civil Procedure.

        Besides the years of warnings to Total and its counsel, PHC provided a copy of the motion

 and this memorandum to counsel for Total via email and hand delivery on January 3, 2019. Total

 and its counsel have not withdrawn the allegations of infringement based on the Five Systems.

 Sanctions, therefore, are appropriate, warranted, and necessary to limit the issues and deter

 continued wrongful conduct.

        PHC requests an award to the full extent permitted by Rule 11 and 28 U.S.C. § 1927

 including but not limited to dismissal with prejudice of all claims in the First Amended and

 Restated Complaint and entry of judgment in the full amount of PHC’s attorneys’ fees and

 expenses, jointly and severally, against Total; Terry Lavergne (who asserts he is the alter ego of

 Total); William W. Stagg; Chase A. Manuel; Steven G. Durio; and Durio, McGoffin, Stagg &

 Ackermann, PC. 2




 2
   Mr. Lavergne submitted a declaration in which he asserts he is the alter ego of Total. See Dkt.
 66-2. He and his attorneys used that argument to persuade the Court not to grant PHC’s Motion
 for Summary Judgment. Dkt. 66 (“PHC also disregards the federal holdings regarding a
 corporation’s ownership interest in patents where the activities of the inventor are so tied to the
 business that the inventor, as Terry Lavergne here, is the alter ego of the business so that the
 business is the owner of the patent.”); Dkt. No. 60 (Order Denying Motion for Partial Summary
 Judgment (“There is therefore a genuine dispute of material fact as to whether Lavergne is the alter
 ego of Plaintiff, and whether Plaintiff has standing to sue for alleged infringement before Lavergne
 assigned the patent to Plaintiff.”)). He cannot now claim he is not the alter ego to avoid sanctions.

                                                  4
Case 6:15-cv-01855-TAD-CBW Document 332-1 Filed 08/30/19 Page 5 of 21 PageID #:
                                  12217


                                 II.   APPLICABLE FACTS

 A. THE CLAIMS REQUIRE THE PUMPS (OR AT LEAST ONE PUMP) TO BE WITHIN (INSIDE) THE
    HOUSING.

        Total filed the original Complaint on June 11, 2015. (Dkt. 1). Total asserts against PHC a

 claim for infringement of United States Patent Number 8,146,428 (“‘428 Patent”), which is the

 sole patent at issue in this case. Complaint (Dkt. 1). The ‘428 Patent is directed to systems and

 methods for safely testing devices and components under high-pressure. (Dkt. 1-4). PHC does not

 deny that it builds pressure testing systems (but does deny that any of its systems infringe the ‘428

 Patent).

        The Court has already reached determinations on the location of the pumps numerous times.

 Each of the independent claims of the ‘428 Patent (whose elements are necessarily included in the

 dependent claims) require the pressure testing equipment to be located within the explosion-proof

 safety housing where high-pressure testing takes place. Independent claim 1 contains the required

 element of “an explosion proof safety housing.” (Id. at 6:29.) Claim 1 also requires that the system

 include “a high-pressure pneumatics testing equipment located within said housing.” (Id. at 6:30-

 1.) Finally, claim 1 makes clear that the housing is the same housing where testing is conducted in

 the element “a closeable access opening in said housing for inserting a high-pressure device for

 testing within said housing.” (Id. at 6:34-5.) Similarly, claim 11 recites “an explosion-proof safety

 housing” (Id. at 7:19), “high-pressure pneumatics testing equipment located within said housing”

 (Id. at 7:20-1), and “a closeable access opening in said housing for inserting a high-pressure device

 for testing within said housing” (Id. at 7:22-3). Claim 16 recites “providing an explosion-proof

 safety housing” (Id. at 8:14), “placing a low-pressure pump, an intermediate-pressure pump, and

 a high-pressure pump within said housing to provide sequential increase in the pressure to said




                                                  5
Case 6:15-cv-01855-TAD-CBW Document 332-1 Filed 08/30/19 Page 6 of 21 PageID #:
                                  12218


 testing high-pressure devices” (Id. at 8:15-19), and “inserting a high-pressure device for testing

 within said housing through said access opening” (Id. at 8:20-1).

 B. THE FIVE SYSTEMS AND SIXTH SYSTEM DO NOT HAVE TESTING EQUIPMENT WITHIN
    (INSIDE THE HOUSING).

        On December 10, 2018, at 5:37 p.m. Total served its third supplemental infringement

 contentions (“Third Supplemental Contentions”). A true and correct copy of the pertinent pages of

 the Third Supplemental Contentions is attached hereto as Exhibit A at Exhibit 1. The Third

 Supplemental Contentions replaced the prior infringement contentions and identified the following

 seven systems accused of infringement (Five Systems at issue in this motion in bold font):

            •   PHC-TB-15-W-ATV4-GSF100-ASF150-DL-1 sold to Baker Hughes Oilfield
                Operations, Inc.;

            •   PHC-TB-23-W-ATV4-HSF202-RV-RC sold to Cameron, Inc.;

            •   PHC-TB-23-W-ATV4-HSF202-4RC sold to GE Oil & Gas Pressure Control,
                LP;

            •   PHC-TB-15-W-ATV4-GSF100-AGT62-152-RC sold to Baker Hughes Oilfield
                Operations, Inc.;

            •   PHC-TB-15-W-ASFB22-HSF202-RC sold to Cameron, Inc.;

            •   PHC-TB-30-W-ASF100-HSF302-RC sold to Cameron, Inc.;

            •   PHC-TB-20-W-ATV4-HSF202-RC sold to GE Oil & Gas Pressure Control,
                LP.

 None of the Five Systems have the pressure testing equipment located inside the housing.

        1. PHC-TB-15-W-ATV4-GSF100-ASF150-DL-1 (Baker Hughes – Oklahoma City).

        Total identified this system as infringing in numbered paragraph 38 of the Proposed Pretrial

 Order. Dkt. 310 at 11. Total and PHC inspected this system on December 10, 2018. Pictures from

 the inspection are attached hereto at Ex. 1B to the Declaration of Ron Hyziewicz (the Declaration

 of Ron Hyziewicz and the exhibits thereto are collectively attached to the motion at Exhibit A at


                                                 6
Case 6:15-cv-01855-TAD-CBW Document 332-1 Filed 08/30/19 Page 7 of 21 PageID #:
                                  12219


 Exhibit 3). The pictures demonstrate that the testing equipment (namely the pumps) is outside of

 the housing. Id. After the inspection occurred, Total submitted its Third Supplemental Contentions,

 even though it confirmed during the inspection that the testing equipment was outside the housing.

 A true and correct copy of the cover email from Total’s counsel showing the date and time of

 service of the Third Supplemental Contentions is attached to the motion as Exhibit A at Exhibit 2.

 Moreover, as shown in his declaration attached to the motion at Exhibit A at Exhibit 3, Ron

 Hyziewicz also will testify at trial that the testing equipment (namely, the pumps) are located

 outside of the housing.

        2. PHC-TB-23-W-ATV4-HSF202-4RC (GE Oil).

        Total identified this system as infringing in numbered paragraph 34 of the Proposed Pretrial

 Order. Dkt. 310 at 11. True and correct copies of the GE Oil system (or an almost identical system)

 are attached at Ex. 2 to the Declaration of Ron Hyziewicz. Exhibit A at Exhibit 3, ¶¶6-10. The

 pictures show that the testing equipment (namely the pumps) was located outside the housing. See,

 Exhibit 3 at PHC0003730. Moreover, as shown in his declaration, Ron Hyziewicz will testify at

 trial that the testing equipment (namely, the pumps) was located outside of the housing. Exhibit A

 at Exhibit 3, ¶¶6-10.

        3. PHC-TB-15-W-ATV4-GSF100-ASF150-AGT62-152-RC (Baker Hughes Emmott
           Road).

        Total identified this system as infringing in numbered paragraph 36 of the Proposed Pretrial

 Order. Dkt. 310 at 11. True and correct copies of pictures of some of the equipment of Baker

 Hughes Emmott Road are attached at Ex. 4 to the Declaration of Ron Hyziewicz. Exhibit A at

 Exhibit 3, ¶¶15-18. As shown in his declaration, Ron Hyziewicz will testify at trial that the testing

 equipment (namely, the pumps) was located outside of the housing. Id.




                                                  7
Case 6:15-cv-01855-TAD-CBW Document 332-1 Filed 08/30/19 Page 8 of 21 PageID #:
                                  12220


        4. PHC-TB-15-W-ASFB22-HSF202-RC (Cameron – Brown System from Brochure).

        Total identified this system as infringing in numbered paragraph 35 of the Proposed Pretrial

 Order. Dkt. 310 at 11. In a letter to Total’s counsel dated March 24, 2017, PHC notified Total that

 PHC-TB-15-W-ASFB22-HSF202-RC did not include the testing equipment within the explosion-

 proof housing. As shown in the image below that was included in the letter, the location of the

 testing equipment (the location of the pumps) is outside of the testing chamber:




        Further, as shown in his declaration, Ron Hyziewicz will testify at trial that the testing

 equipment (namely, the pumps) was located outside of the housing. Exhibit A at Exhibit 3, ¶¶11-

 13.

        5. PHC-TB-20-W-ATV4-HSF202-RC (GE Canton).

        Total identified this system as infringing in numbered paragraph 39 of the Proposed Pretrial

 Order. Dkt. 310 at 11. True and correct copies of the GE Canton system (or an almost identical

 system) are attached at Ex. 2 to the Declaration of Ron Hyziewicz. Exhibit A at Exhibit 3, ¶¶6-10.

 The pictures show that the testing equipment (namely the pumps) was located outside the housing.

 See, e.g., Exhibit A at Exhibit 3 at PHC0003730. Moreover, as shown in his declaration, Ron

                                                 8
Case 6:15-cv-01855-TAD-CBW Document 332-1 Filed 08/30/19 Page 9 of 21 PageID #:
                                  12221


 Hyziewicz will testify at trial that the testing equipment (namely, the pumps) was located outside

 of the housing. Exhibit A at Exhibit 3, ¶¶6-10.

         6. PHC-TB-10-W-ATV-GSF100-DL-1 (Baker Hughes Oklahoma).

         Total identified this system as infringing in numbered paragraph 38 of the Proposed Pretrial

 Order. Dkt. 310 at 11. This sixth system, PHC-TB-10-W-ATV-GSF100-DL-1 to Baker Hughes

 Oklahoma (hereinafter “Baker Ok Short”), also does not have pumps within the explosion-proof

 safety housing. See Memorandum in Support of Motion in Limine (Dkt. 290-4) at 11-12 and Ex.

 3 (Declaration of Ron Hyziewicz (Dkt. 292)).



                                          III.    ARGUMENT

 A. RULE 11 PROVIDES SANCTIONS FOR BAD FAITH LITIGATION.

         The Federal Rules of Civil Procedure are given their plain and ordinary meaning. Bus.

 Guides, Inc. v. Chromatic Commc’ns Enters., Inc., 498 U.S. 533, 540 (1991). Rule 11 provides in

 relevant part: “By presenting to the court a... written motion or other paper,... an attorney... certifies

 that to the best of the person’s knowledge, information, and belief, formed after an inquiry

 reasonable under the circumstances…the claims, defenses, and other legal contentions are

 warranted by existing law or by a nonfrivolous argument for extending, modifying, or reversing

 existing law…[and] the factual contentions have evidentiary support.” Fed.R.Civ.P. 11(b)

 (emphasis added). As articulated by the U.S. Supreme Court, “Rule 11 is aimed at curbing abuses

 of the judicial system.” Bus. Guides, 498 U.S. at 542 (internal quotation marks omitted).

         In the Fifth Circuit, when determining whether a party has violated Rule 11, “the standard

 under which an attorney is measured is an objective, not subjective standard of reasonableness

 under the circumstances.” F.D.I.C. v. Maxxam, Inc., 523 F.3d 566, 581 (5th Cir.2008). Where “no

 reasonable litigant could believe it would succeed” on the merits Rule 11 sanctions are warranted.

                                                     9
Case 6:15-cv-01855-TAD-CBW Document 332-1 Filed 08/30/19 Page 10 of 21 PageID #:
                                   12222


  Raylon, LLC v. Complus Data Innovations, Inc., 700 F.3d 1361, 1368 (Fed. Cir. 2012) (applying

  5th Circuit Rule 11 standard to appeal in patent infringement case in E.D. Tex.); iLor, LLC v.

  Google, Inc., 631 F.3d 1372, 1378 (Fed. Cir. 2011).

         Section 1927 provides similar monetary relief and sanctions against attorneys for wrongful

  litigation conduct. Under 28 U.S.C. § 1927, “Any attorney or other person admitted to conduct

  cases in any court of the United States or any Territory thereof who so multiplies the proceedings

  in any case unreasonably and vexatiously may be required by the court to satisfy personally the

  excess costs, expenses, and attorneys’ fees reasonably incurred because of such conduct.”

         In patent infringement actions, a reasonable inquiry under Rule 11 requires that an attorney

  (1) perform a nonfrivolous claim construction analysis and (2) apply it as part of a reasonable

  infringement analysis. Q–Pharma, Inc. v. Andrew Jergens Co., 360 F.3d 1295, 1301– 02

  (Fed.Cir.2004). Evidence of a nonfrivolous claim construction analysis consists of a claim

  interpretation that “comport[s] with the plain meaning of the claim language and do[es] not appear

  to be inconsistent with the patent’s written description and prosecution history.” Id. at 1301.

  “Reasonable minds can differ as to claim construction positions and losing constructions can

  nevertheless be nonfrivolous,” claim construction positions are analyzed on a spectrum of

  reasonableness. Raylon, LLC v. Complus Data Innovations, Inc., 700 F.3d 1361, 1368

  (Fed.Cir.2012). At one end of that spectrum, a threshold exists where a claim construction position

  is so unreasonable that “no reasonable litigant could believe it would succeed.” iLor, LLC v.

  Google, Inc., 631 F.3d 1372, 1378 (Fed.Cir.2011). Should a claim construction position meet this

  high threshold, the claim construction is frivolous, and Rule 11 mandates sanctions. Id.

         Regarding a reasonable infringement analysis, an attorney need only show that “a good

  faith, informed comparison of the claims of a patent against the accused subject matter” took place.



                                                  10
Case 6:15-cv-01855-TAD-CBW Document 332-1 Filed 08/30/19 Page 11 of 21 PageID #:
                                   12223


  Q–Pharma, 360 F.3d at 1302. “[T]he presence of an infringement analysis plays the key role in

  determining the reasonableness of the pre-filing inquiry made in a patent infringement case under

  Rule 11.” Id.

           The Federal Circuit has held that “[o]nce a litigant moves based upon non-frivolous

  allegations for a Rule 11 sanction, the burden of proof shifts to the non-movant to show it made a

  reasonable pre-suit inquiry into its claim.” Digeo, Inc. v. Audible, Inc., 505 F.3d 1362, 1368 (Fed.

  Cir. 2007). The Federal Circuit has clearly explained the rationale for this burden-shifting:

                  A patent suit can be an expensive proposition. Defending against
                  baseless claims of infringement subjects the alleged infringer to
                  undue costs—precisely the scenario Rule 11 contemplates.
                  Performing a pre-filing assessment of the basis of each infringement
                  claim is, therefore, extremely important. In bringing a claim of
                  infringement, the patent holder, if challenged, must be prepared to
                  demonstrate to both the court and the alleged infringer exactly why
                  it believed before filing the claim that it had a reasonable chance of
                  proving infringement. Failure to do so should ordinarily result in the
                  district court expressing its broad discretion in favor of Rule 11
                  sanctions, at least in the absence of a sound excuse or considerable
                  mitigating circumstances.

  View Eng’g, Inc. v. Robotic Vision Sys., Inc., 208 F.3d 981, 986 (Fed. Cir. 2000). Moreover, the

  rationale for that rule is that “Rule 11, in the context of patent infringement actions, requires that

  an attorney interpret the pertinent claims of the patent in issue before filing a complaint alleging

  patent infringement.” Antonious v. Spalding & Evenflo Cos., Inc., 274 F.3d 1066, 1072 (Fed. Cir.

  2002).

           A patent owner’s (and its attorney’s) Rule 11 obligations continue throughout the life of

  the case. Under Rule 11, “a litigant’s obligations with respect to the contents [of his or her filings]

  are not measured solely as of the time they are filed with or submitted, but include reaffirming to

  the court and advocating positions contained in those pleadings and motions after learning that

  they cease to have any merit.” Fed. R. Civ. P. 11 Advisory Committee’s Note; see also Kale v.


                                                    11
Case 6:15-cv-01855-TAD-CBW Document 332-1 Filed 08/30/19 Page 12 of 21 PageID #:
                                   12224


  Combined Ins. Co. of Am., 861 F.2d 746, 758 (1st Cir. 1988); Balerna v. Gilberti, 281 F.R.D. 63,

  66 (D. Mass. 2012). “[I]f evidentiary support is not obtained after a reasonable opportunity for

  further investigation or discovery, the party has a duty under the rule not to persist with that

  contention.” Fed. R. Civ. P. 11 advisory committee’s note; see also Soler v. Puerto Rico Telephone

  Co., 230 F. Supp. 2d 232, 238 (D.P.R. 2002).

  B. NO REASONABLE LITIGANT COULD EXPECT TO SUCCEED ON TOTAL’S CLAIMS FOR
     INFRINGEMENT BY THE FIVE SYSTEMS AND SIXTH SYSTEM.

         In the Third Supplemental Contentions, Total asserts that the Five Systems infringe claims

  3-5, 11-15, and 18-19 of ʼ428 Patent. Each of the asserted claims are dependent on one of

  independent claims 1, 11, or 16. Thus, in order for the accused systems to infringe claims 1, 11, or

  16, each accused system must include all elements of those claims.

         As a matter of law, PHC cannot directly infringe claims 3-5, 11-15, and 18-19 of ʼ428

  Patent through the Five Systems. To show direct infringement, a patent owner must prove either

  literal infringement or infringement by the doctrine of equivalence. A product literally infringes a

  patent if each element of the patent claim is contained in the accused product. Rain Bird Sprinkler

  Mfg. Corp. v. Toro Co., 26 F.3d 141 (Fed. Cir. 1994); North American Vaccine, Inc. v. American

  Cyanamid Co., 7 F.3d 1571, 1574 (Fed.Cir.1993). The test for infringement under the doctrine of

  equivalence determines “whether [the accused product] performs the function in substantially the

  same way to achieve substantially the same result.” Minks v. Polaris Indus., Inc., 546 F.3d 1364,

  1378 (Fed. Cir. 2008). Under either standard, the Five Systems cannot directly infringe.

         1. PHC Has Not Directly Infringed the ʼ428 Patent.

         There is no literal infringement because the Five Systems do not have the any testing

  equipment within (i.e. inside) the housing. This means there is not one or more pumps in the

  explosion-proof safety housing. As this Court has repeated held, at least one pump of the testing


                                                  12
Case 6:15-cv-01855-TAD-CBW Document 332-1 Filed 08/30/19 Page 13 of 21 PageID #:
                                   12225


  system must be in the explosion-proof safety housing. See, e.g., Ruling (Dkt. 327) at 4-6. This is

  an explicitly required element of the claims of the ʼ428 Patent. Independent claim 1 contains the

  required element of “a high-pressure pneumatics testing equipment located within said housing.”

  (Dkt. 1-4 at 6:30-31 (emphasis added).) Independent claim 11 requires the element of “high-

  pressure pneumatics testing equipment located within said housing.” (Id. at 7:19-21 (emphasis

  added).) Independent claim 16 requires the elements of “Placing a low-pressure pump, an

  intermediate-pressure pump, and a high-pressure pump within said housing to provided to

  sequential increase in the pressure to said testing high-pressure devices” and “coupling said control

  panel to the testing equipment inside said housing” with “said housing” being “an explosion-proof

  safety housing.” (Id. at 8:14-18, 23-24 (emphasis added).)

         The requirement that the pumps of the testing equipment must be within/inside the housing

  permeates the patent. The abstract of the ʼ428 Patent describes the invention to include “a high-

  pressure pneumatic testing equipment located within the housing.” In the “Background of the

  Invention,” the ʼ428 Patent states the reason the testing equipment is within the housing is to

  minimize the exposure of operators to “flying fragments and debris hazard” caused by failure of

  the testing equipment (namely, explosion of the testing equipment). (Dkt. 1-4 at 1:46-60.)

         The summary of the invention in the specification of the ʼ428 Patent further describes the

  testing equipment within both the stationary and portable embodiments of the claimed inventions.

  Figure 1 of the patent (as show below) identifies the testing equipment as inside a stationary

  housing:




                                                   13
Case 6:15-cv-01855-TAD-CBW Document 332-1 Filed 08/30/19 Page 14 of 21 PageID #:
                                   12226




  The ʼ428 Patent states in pertinent part, “Located entirely within chamber 12 is at least one high-

  pressure pneumatics testing equipment…It should be noted that the number of high-pressure

  equipment testing equipment supported in chamber 12 may varying from as few of one to a

  plurality of devices and types of high-pressure equipment testing equipments [sic] may all be the

  same, all different or a combination thereof.” (Dkt. 1-4 at 3:1-2, 7-12.) The ʼ428 Patent further

  describes that the control panel is located “outside” of the housing and connected to the high-

  pressure testing equipment “within the bunker housing” so that the equipment may be operated

  from outside the housing. (Id. at 3:26-31.) Similarly, the ʼ428 Patent identifies that the testing

  equipment is located “within” the housing of the portable embodiment of the claimed inventions

  as shown in Figure 5 of the ʼ428 Patent:




                                                  14
Case 6:15-cv-01855-TAD-CBW Document 332-1 Filed 08/30/19 Page 15 of 21 PageID #:
                                   12227




 (Id. at 5:30-39.)

          Neither Total nor PHC have identified or raised an issue with the constructed of the term

  “within said housing” or “inside said housing.” The terms must be given their plain and ordinary

  meaning. “Within” and “inside” are common synonyms for the position of one thing situation in

  something else.

          That Total has not raised an issue with the meaning of “within” or “inside” is because Mr.

  Lavergne, the purported inventor, intended for the invention to claim only systems or methods in

  which the testing equipment is within the housing. As shown in PHC’s certified response to

  Interrogatory No. 4 of the First Set of Interrogatories, the inventive concept behind the ʼ428 Patent

  was “placing the testing systems inside a bunker along with the tools to be tested, wherein the

  testing systems may be operated from the outside of the bunker.” True and correct copies of Total’s

  Responses to the First Set of Interrogatories with certification are attached to the motion as

  collective Exhibit A at Exhibit 4. Mr. Lavergne also sent emails to third parties in which he stated

  that any system where the testing equipment is within the “bunker” (i.e. the housing) infringes “his


                                                   15
Case 6:15-cv-01855-TAD-CBW Document 332-1 Filed 08/30/19 Page 16 of 21 PageID #:
                                   12228


  patent. A true and correct copy of the emails are attached to the motion as collective Exhibit A at

  Exhibit 5. Mr. Lavergne specifically stated, “Any system where the pumps are in the bunker will

  infringe on my patent.” Id.

            As shown in the Declaration of Ron Hyziewicz and the pictures attached thereto (Exhibit

  A at Exhibit 3), the testing equipment-namely, the pumps that pressurize the device being tested-

  are located outside of the housing for the Five Systems. The testing equipment, therefore, is not

  within or inside the housing. There can be no literal infringement.

            There also can be no direct infringement by the doctrine of equivalents. The very structure

  claimed by Total is the location of the testing equipment within the housing. The location prevents

  harm to the system operator(s) due to the explosion of the testing equipment or device being tested.

  Placing the pumps outside of the housing would not solve the problem of protecting the operator(s).

  Instead, the pumps outside the housing is the very solution that Mr. Lavergne purported to resolve

  with the claimed inventions.

            2. PHC Has Not Indirectly Infringed the ʼ428 Patent.

            The Five Systems also cannot be found to indirectly infringe claims 3-5, 11-15, and 18-19

  of ʼ428 Patent. Indirect infringement under 35 U.S.C. §271(b) (induced infringement) and 35

  U.S.C. §271(c) (contributory infringement) requires there to be direct infringement by a third party.

            Under §271(b), liability can only be found when a defendant “actively” induces

  infringement. “[W]here there has been no direct infringement, there can be no inducement of

  infringement under § 271(b).” Limelight Networks, Inc. v. Akamai Techs., Inc., 572 U.S. 915, 922

  (2014).

            Similarly, under §271(c), liability can only be found when a defendant offers to sells or

  sells within the United States or imports a component or material for use for direct infringement.

  “It is settled that if there is no direct infringement of a patent there can be no contributory
                                                    16
Case 6:15-cv-01855-TAD-CBW Document 332-1 Filed 08/30/19 Page 17 of 21 PageID #:
                                   12229


  infringement.” Aro Mfg. Co. v. Convertible Top Replacement Co., 365 U.S. 336, 341 (1961); cf.

  Limelight Networks, 572 U.S. at 922 (citing Aro Mfg. for proposition that “Liability for inducement

  must be predicated on direct infringement.”).

         Here, the Five Systems do not have the testing equipment – specifically no pumps - within

  or inside the housing. The Five Systems do not constitute infringement by any third party. There

  can be no indirect infringement by PHC.

  C. TOTAL AND ITS COUNSEL’S REFUSAL TO DROP THE FIVE SYSTEMS IS EGREGIOUS.

         The Five Systems cannot infringe the ’428 Patent as a matter of law. Total has ignored

  evidence directly to the contrary in pursuit of its claims, much of which was available prior to

  Total’s service of the Third Supplemental Contentions on December 10, 2018. Yet, Total persists

  in its assertion of infringement through the Five Systems anyway. This fact should weigh heavily

  on the decision to sanction Total, Mr. Lavergne, and their attorneys and law firm. The conduct is

  particularly egregious here where such unreasonable allegations have led to addition trial

  preparation to address each of the Five Systems when that preparation was unnecessary and could

  have been avoided by Total and its counsel.

         1. Since Receiving the January 3, 2019 Demand Letter and Draft Motion, Total and Its
            Counsel Asserted Infringement of a Sixth System where All Pumps Are Outside the
            Explosion-Proof Safety Housing.

         Despite being on notice that it infringement contentions for systems with pumps outside

  the explosion-proof safety housing could not as a matter for over seven months, on July 19, 2019,

  Total served a Proposed Pretrial Order in which it identified a sixth system that allegedly

  infringes ’428 Patent. See Memorandum in Support of Motion in Limine (Dkt. 290-4) at 7 and Ex.

  2. This sixth system, PHC-TB-10-W-ATV-GSF100-DL-1 to Baker Hughes Oklahoma (hereinafter

  “Baker Ok Short”) and identified as infringing by Total in numbered paragraph 38 of the Proposed

  Pretrial Order (Dkt. 310 at 11), also does not have pumps within the explosion-proof safety housing.

                                                  17
Case 6:15-cv-01855-TAD-CBW Document 332-1 Filed 08/30/19 Page 18 of 21 PageID #:
                                   12230


  See Memorandum in Support of Motion in Limine (Dkt. 290-4) at 11-12 and Ex. 3 (Declaration

  of Ron Hyziewicz (Dkt. 292)). Accordingly, despite this sixth system not being included in the

  draft Motion sent on January 3, 2019, the addition of the sixth non-infringing systems shows a

  pattern of extreme and intentional indifference to merits of the claims despite being advised of the

  error of Total’s and its counsel’s ways seven months earlier. Given the Court’s ruling in the Ruling

  and Order (Dkt. 282 at 5) on June 10, 2019, there is no possible good faith basis for Total to add

  this sixth non-infringing system to the Proposed Pretrial Order on July 19, 2019. This should factor

  heavily in the determination of sanctions at this time. It is clear that no amount of efforts will keep

  Total and its counsel from asserting completely bogus and bad faith claims for infringement.

         2. Attorney Ryan Goudelocke Should be Sanctioned as well as the Original Attorneys
            on the Case for Total.

         Attorney Ryan Goudelocke, a partner at Durio, McGoffin, Stagg & Ackermann, PC,

  entered an appearance in this case long after PHC delivered the Demand Letter and Draft Motion

  on January 3, 2019. Unlike Messrs. Durio, Stagg, and Manuel who filed this case and then

  continued to push forward with bad faith claims of infringement, Mr. Goudelocke knew of the

  problems with the case, entered an appearance, and pushed forward the bonus and bad faith claims

  of infringement anyway. He did not have to take on this case or even enter any appearance in this

  case. Instead, he knowingly submitted himself to the risk of sanctions.

  D. THIS IS AN EXCEPTIONAL CASE FOR ATTORNEY FEES, EXPENSES AND COSTS.

         “The court in exceptional cases may award reasonable attorney fees to the prevailing party.”

  35 U.S.C. § 285. “In 1952, when congress used the word [‘exceptional’] in § 285 (and today, for

  that matter), ‘exceptional’ meant ‘uncommon,’ ‘rare,’ or ‘no ordinary.’” Octane Fitness, LLC v.

  ICON Health & Fitness, Inc., 572 U.S. 545, 553 (2014) (citing Webster’s New Int’l Dictionary

  889 (2d ed. 1934)). “[A]n exceptional case is simply one that stands out from others with respect


                                                    18
Case 6:15-cv-01855-TAD-CBW Document 332-1 Filed 08/30/19 Page 19 of 21 PageID #:
                                   12231


  to the substantive strength of a party’s litigating position (considering both the government law

  and the facts of the case) or the unreasonable manner in which the case was litigated. District courts

  may determine whether a case is ‘exceptional’ in the case-by-case exercise of their discretion,

  considering the totality of the circumstances.” Octane Fitness, LLC v. ICON Health & Fitness,

  Inc., 572 U.S. 545, 554 (2014).

         For the reasons set forth above, this is an exceptional case for which PHC is entitled to an

  award under 35 U.S.C. § 285 given the meritless claims as well as inequitable conduct, withholding

  of evidence, discovery conduct, and other factors to be proven if the case is not dismissed.

                                        IV.     CONCLUSION

         PHC is entitled to an award of the full extent of Rule 11 sanctions, jointly and severally,

  against Total and its attorneys and their firm(s) as is set forth in the Motion. PHC also is entitled

  to monetary sanctions, jointly and severally, against Total’s attorneys and their firm(s) under 28

  U.S.C. § 1927. Total’s attorneys and firm’s persistence through multiple infringement contention

  supplements and the pretrial order, knowing that there can be no infringement through the Five

  Systems is exactly the type of exceptional circumstances or “unreasonable and vexatious” conduct

  necessary to warrant the imposition of sanctions.

         Dated: August 30, 2019

                                                 Respectfully submitted,

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                                                   19
Case 6:15-cv-01855-TAD-CBW Document 332-1 Filed 08/30/19 Page 20 of 21 PageID #:
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                                       20
Case 6:15-cv-01855-TAD-CBW Document 332-1 Filed 08/30/19 Page 21 of 21 PageID #:
                                   12233


                                 CERTIFICATE OF SERVICE

         The undersigned certifies that on this 30th day of August 2019, a copy of the foregoing was

  served on counsel of record listed below via email and by hand:

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                                                 21
